     Case 1:20-cv-00445-MIS-JHR Document 143 Filed 07/18/22 Page 1 of 1

                                                                                    FILED                   -'
                                                                     uN   rrBcsI0EEB
                                                                          D             :i?I[   lfiJf' 33
                     tN THE UNITED STATES DISTRICT COURT                      ,?T
                        FoR rHE DtSrRtCr oF NEW MEXICO                              JUL I U   202?
                                                                     -_1-
ztA AGRtcuLruRAL      coNSULTNG,
              r' rE vvr tvvL ' rr tv'                                     !4IIqIFILSTELFERS
                                                                          EbmnK oF couRT*
LLC,
       Plaintiff,

V.                                                     Civ. No. 1:20-cv-00445 MIS/JHR

TYSON FRESH MEATS, INC.,

       Defendant.

                                   FINAL JUDGMENT

       This action came before the Court and a jury for trial on July 1 1,2022. The issues

having been duly tried and the jury having duly rendered its verdict on July 14,2022, the

Court hereby approves and enters this finaljudgment in accordance with Fed. R. Civ. P.

58(b) and the Special Verdict Form.

       lT lS THEREFORE ORDERED AND ADJUDGED that Plaintiff Zia Agricultural
Consulting, LLC, recover from Defendant Tyson Fresh Meats, lnc., the sum of

$2,573,171.00 actual damages and $8,000,000.00 punitive damages




                                                         ^.) S\,.4
                                                MARGARET STRICKLAND
                                                UNITED STATES DISTRICT JUDGE
